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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

PEOPLE FOR THE ETHICAL TREATMENT §
OF ANIMALS, INC.,                 §
      Plaintiff,                  §
                                  §
v.                                §                   No. 4:18-CV-01547
                                  §
MICHAEL K. YOUNG, IN HIS OFFICIAL §
CAPACITY AS PRESIDENT OF TEXAS    §
A&M UNIVERSITY,                   §
      Defendant.                  §

                      DEFENDANT’S PROPOSED DISCOVERY PLAN

        Pursuant to the Management Order entered September 10, 2018, Defendant

hereby files its proposed discovery plan addressing “a list of documents it would like

to discover, the things it needs to know, and all people with knowledge relevant to

the case.” Dkt. 31.

   A.      Documents Defendant would Like to Discover

        Defendant seeks to discover the documents listed in the proposed Requests for

Production in Attachment 1. Defendant respectfully requests that the Court enter an

order effecting service of those requests upon Plaintiff, triggering the 30-day response

period. Defendant further seeks to reserve the right to propound additional requests

for production that meet the relevance and proportionality requirements of Federal

Rule of Civil Procedure 28, depending upon Plaintiff’s responses to its initial requests.

   B.      Things Defendant Needs to Know

        Defendant needs to know the information requested in the proposed Requests

for Admission and Interrogatories in Attachment 1. Defendant respectfully requests

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that the Court enter an order effecting service of those Requests upon the Plaintiff,

triggering the 30-day response period. Defendant further seeks to reserve the right

to propound additional requests for admissions and interrogatories that meet the

relevance and proportionality requirements of Federal Rule of Civil Procedure 28,

depending upon Plaintiff’s responses to its initial requests.

   C.      People with Knowledge relevant to the Case

        By agreement of the parties, this information was served upon Plaintiff’s

counsel via email on the date of this filing.

   D.      Proposed Deadlines

        Defendant proposes the timeline below to govern resolution of this cause.

Counsel for the parties have conferred, and have agreed generally on the timing of

discovery and motion practice, and to work together to agree on scheduling matters.

Should the Court request a joint proposed scheduling order, Defendant anticipates

that the parties could file one promptly.

           •   Discovery period: Approximately 6 months

           •   Cross-motions for summary judgment: 30 days after discovery closes

           •   Responses to cross-motions: 21 days after cross-motions deadline

           •   Replies in support of cross-motions: 14 days after response deadline

                                         Respectfully submitted,

                                         KEN PAXTON
                                         Attorney General of Texas

                                         JEFFREY C. MATEER
                                         First Assistant Attorney General



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                                       ATTORNEYS FOR DEFENDANT

                             CERTIFICATE OF SERVICE

      I hereby certify that on September 28, 2018, the foregoing document was filed

via the Court’s CM/ECF system, causing electronic service upon all counsel of record.

                                       /s/Anne Marie Mackin
                                       ANNE MARIE MACKIN
                                       Assistant Attorney General




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